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                                           5                              IN THE UNITED STATES DISTRICT COURT

                                           6                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                           8   KAHEAL PARRISH,                                    Case No. 5:11-cv-01438 LHK (NC)
                                           9                  Plaintiff,                          ORDER TO SUBMIT DISCOVERY
                                                                                                  STATUS REPORT
                                          10     v.
For the Northern District of California




                                          11   A. SOLIS, et al.,
    United States District Court




                                          12                  Defendants.
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                                          14          The parties are ordered to file by June 27 a joint discovery status report and discovery

                                          15   plan. The report should summarize the discovery completed, the discovery in process, and

                                          16   the discovery anticipated. Any discovery disputes must be detailed, with each side presenting
                                          17   its proposed compromise. The purposes of the discovery plan are to assist the efficient
                                          18   administration of justice and to encourage the timely completion of discovery. After
                                          19   receiving the report, the Court may set a discovery status conference or issue other orders in
                                          20   the interest of justice.
                                          21   IT IS SO ORDERED.
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                                          23   Dated: June 2, 2014
                                                                                                    NATHANAEL COUSINS
                                          24                                                        United States Magistrate Judge
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